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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM                                            §
3 WELL 2014, L.P.                                           §              Case No. 17-40180
                                                            §              Chapter 7
                                                            §
                                                            §
         DEBTOR.                                            §


JASON R. SEARCY, CHAPTER 7                                  §
TRUSTEE FOR PAYSON                                          §
PETROLEUM, INC.,                                            §
                                                            §
      Plaintiff,                                            §
                                                            §
vs.                                                         §              Adversary No. 18-04076
                                                            §
NEIL AGRAWAL, ET AL.,                                       §
                                                            §
      Defendants.                                           §



   JOINT STIPULATION TO EXTEND TRUSTEE’S DEADLINE TO OBJECT TO
  MOTION OF VARIOUS DEFENDANTS TO DISMISS AND MOTION OF VARIOUS
              DEFENDANTS TO WITHDRAW THE REFERENCE
                      [Relates to Docket Nos. 7 and 9]

         Jason R. Searcy, Chapter 7 Trustee of Payson Petroleum Inc. (the “Trustee”), and the

Defendants listed in Exhibit A attached hereto (the “Movants”), hereby stipulate and agree as

follows:

         1.        On October 24, 2018, the Movants filed their Motion of Various Defendants to

Withdraw the Reference [Docket No. 7] and their Motion of Various Defendants to Dismiss and

Brief in Support [Docket No. 9] (collectively, the “Motions”).




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      2.       The Motions stated that “NO HEARING WILL BE CONDUCTED ON THIS

MOTION UNLESS A WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE

UNITED STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY FILING THIS

PLEADING WITHIN FOURTEEN (14) DAYS FROM THE DATE OF SERVICE SHOWN IN

THE CERTIFICATE OF SERVICE.”

      3.       Fourteen (14) days from the date of service of the Motions is November 7, 2018.

      4.       The Trustee and the Movants agree to extend the Trustee’s objection deadline for

the Motions to November 15, 2018.




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AGREED:

SNOW SPENCE GREEN LLP

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       Houston, Texas 77019
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       (713) 335-4848 (Fax)

       ATTORNEYS FOR JASON R. SEARCY,
       CHAPTER 7 TRUSTEE FOR PAYSON PETROLEUM, INC.

MUNSCH HARDT KOPF & HARR P.C.

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      ATTORNEYS FOR MOVANTS




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                                                 EXHIBIT A
1.    Neil Agrawal
2.    Om Agrawal
3.    Veena Agrawal
4.    Sunil Agrawal
5.    Kenneth C. Aldrich
6.    Yvonne Craig-Aldrich
7.    Wenzhong An
8.    Dana D. An
9.    The Peter L. Backes Trust DTD 6-17-88
10.   David Bartczak
11.   Heidi Beh
12.   Warren V. Bush
13.   Fay L. Bush
14.   Van H. Butler
15.   Mary L. Butler
16.   Donald C. Calvello
17.   Jocelyn S. Carter 1992 Trust
18.   Brandon Chen
19.   Jiangnan Chen
20.   Mary Chen
21.   Meiyu Chen
22.   Grace Edward Y. Chu
23.   Grace W. Chu
24.   Charles R. Cobb
25.   Jeffrey M. Cohen
26.   Yulduz Cohen
27.   Donald A. DiFiore
28.   Lawrence S. Esposito
29.   Theodora B. Esposito
30.   PI Resources, LLC
31.   GJQ and SLQ Investments, LLC
32.   Rick Gardner
33.   Timothy Jack Gibson
34.   Stacey Leigh Gibson
35.   John Gong
36.   Richard A. Graham, Jr.
37.   Grubbs Holding Trust
38.   Ronald Guichard
39.   Edwin W. Hardey
40.   William G. Hayden
41.   Deborah G. Hayden
42.   Sharlene Sims Horak
43.   Rocky Howington
44.   Anna Howington
45.   Zhongwen Huang
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46.   Virginia P. Humphrey II
47.   Felicia Y. King
48.   Suresh Kumar
49.   Malini Kumar
50.   Crystal LeClercq
51.   Fen V. Lee Living Trust
52.   Inn C. Lee Living Trust
53.   Huifang Liang
54.   Richard Z. Lu
55.   Jia Liu
56.   Tim Moore
57.   Ernest F. Morgan
58.   Pamela S. Morgan
59.   Michael Musaraca
60.   Kazuo J. Nanya
61.   Rosalyn S. Nanya
62.   Ross Chan
63.   Margaret Ng
64.   Sara Ng
65.   Thomas Partridge
66.   Lois Partridge
67.   Kevin Peterson
68.   John F. Pollick
69.   Ying Qi
70.   Jeremy D. Rauhauser
71.   Blake W. Rodgers
72.   Christopher L. Rooker
73.   Audrey Schwarzbein
74.   Schwarzbein-Graham Family Trust
75.   Toussaint Smith
76.   Rose Sobel Rev. Trust 9/21/95
77.   Jeremy W. Szeto
78.   Joey E. Turner
79.   Linda Jo Turner
80.   Cehuan Wang
81.   Jiuzhou Wang
82.   Meimei Xu
83.   Weiner Trust
84.   2008 Donald R. & Debra R. Woods Revocable Trust
85.   Hailin Yan
86.   Lei Yan
87.   Ximing Yang
88.   Hang Yuan
89.   Yingzi Song
90.   Yang Zhao
91.   Hong Yang
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92.    Liping Zhong
93.    Jun Zhou
94.    Philip Zou
95.    Jan Cheng
96.    3 Well MGP, LLC
97.    Dr. Tapan K. Daftari
98.    Anisa Daftari
99.    John A. Diaz
100.   Kurt E. Erickson
101.   Renjie Fu (incorrectly listed as Fuller)
102.   Kijabe Limited Liability Company
103.   Chris Lahiji
104.   Ravinda Prakash
105.   Kum Kum Prakash
106.   Natalia Rynoin
107.   Lihong Huang
108.   Xiaoli Zhang
109.   Shu Chen
110.   Lisa Chen
111.   Zhong Wu
112.   He Yuan
113.   Ning Li
114.   Glenn Jason Salsbury
115.   Einer G. Lindholm
116.   Derik Einer Lindholm
117.   Krystle Lindholm Exempt Trust
118.   Marisa Lindholm Exempt Trust
119.   Riverstone Resources, Ltd.
120.   Thomas Clayton
121.   Barry Brodbeck
